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AO 91 (Rev. 08/09) Criminal Compiaint

UNITED STATES DISTRICT COURT U6 05 295 D
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Northern District of Oklahoma TRIG; Clerk
United States of America ) "7
* Case No. ot |. m- SsYu¢$S H
)
LAURA KAY SAWYER
Defendant(s)

CRIMINAL COMPLAINT

|, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 29, 2024 in the county of Tulsa in the
Northern District of Oklahoma, the defendant(s) violated:

Code Section Offense Description
21 U.S.C. §§ 841(a)(1) and 841(b) Possession of Methamphetamine with Intent to Distribute
(1)(B)(viii)
21 U.S.C. § 846 Drug Conspiracy
18 U.S.C. § 924(c)(1)(A)(i) Possession of a Firearm in Furtherance of a Drug Trafficking Crime

This criminal complaint is based on these facts:
See Attached Affidavit

@% Continued on the attached sheet.

Complainant's signature

Special Agent Rebecca Loeb, HSI
Printed name and title

Sworn to before me by phone.

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Judge's signature

City and state: Tulsa, OK Susan Huntsman, United States Magistrate Judge
~~ Printed name and title

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Affidavit in Support of an Arrest Warrant
in the Northern District of Oklahoma

Affiant, Special Agent Rebecca Loeb, being duly sworn under oath, do hereby
depose and state:

Introduction

1. Rebecca Loeb, your affiant, is a Special Agent employed by the Department of
Homeland Security (DHS), Immigration and Customs Enforcement (ICE),
Homeland Security Investigations (HSI). Your affiant has been employed as a special
agent since August 2019 and is currently assigned to Resident Agent-in-Charge
(RAC) Tulsa. Prior to becoming a special agent, your affiant was employed as a
police officer in Illinois by the Libertyville Police Department from January 2014 to
April 2016, and the Lake County Sheriff's Office from April 2016 to August 2019.
Your affiant graduated from the twelve-week Suburban Law Enforcement Academy
in Glen Ellyn, Illinois, the twelve-week Criminal Investigator Training Program in
Glynco, Georgia, and the fourteen-week Homeland Security Investigations Special
Agent Training Program in Glynco, Georgia. Your affiant has been trained in basic
law enforcement skills, patrol tactics, firearms, and investigations. Your affiant has
conducted criminal investigations for multiple violations of state and federal laws
including, but not limited to, narcotics smuggling, weapons trafficking, and
organized criminal activity. Your affiant received a Juris Doctor from Chicago-Kent
College of Law in 2015, and a Bachelor of Science degree in Legal Studies with a

minor in Criminal Justice from the University of Wisconsin-Madison in 2012.
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2. Affiant has training and experience in the enforcement of federal narcotics
laws. Moreover, Affiant is a federal law enforcement officer who is engaged in
enforcing the criminal laws, including 21 U.S.C. § 841 and 18 U.S.C. § 924.

3. The facts and statements in this affidavit are based in part on information
provided by other law enforcement officers and on my personal observations and
training and experience as a Special Agent for HSI. This affidavit is intended to show
merely that there is sufficient probable cause for the requested warrant and does not
set forth all of my knowledge about this matter.

4, It is Affiant’s belief that William Colby COX and Laura Kay SAWYER have
violated 21 U.S.C. § 841(a)(1) (manufacture, distribute, or dispense, or possess with
intent to manufacture, distribute, or dispense, a controlled substance), 21 U.S.C. § 846
(drug conspiracy), and 18 U.S.C. § 924(c)(1)(A)(i) (possession of firearms in
furtherance of a drug trafficking crime), in Tulsa, Oklahoma, in the Northern District
of Oklahoma.

The Source of Affiant’s information and grounds for my beliefs are as follows:

5. Your Affiant was notified by Oklahoma Bureau of Narcotics Agent Nate
Edwards that the address 4536 S. Xenophon Ave, located in the city of Tulsa,
Oklahoma is a known narcotics distribution house. Agent Edwards stated that the
Tulsa Police Department Street Crimes Unit has been investigating 4536 S.
Xenophon since 2019 as they have received information that narcotics, to include
methamphetamine, is being distributed from the address.

6. Agent Edwards stated that the residence is what officers considered to be a “flop

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house” where several people will stay at the residence for a short period of time and
use the residence for illegal activity. Due to your Affiant's training and experience, she
knows that when investigating illegal activities at what officers consider “flop houses,”
it is difficult to identify who is residing in the residence due to on-going and constantly
changing residents and vehicles. Agent Edwards stated the house has been a known
Irish Mob “hangout” for multiple years. The Irish Mob is an organized criminal gang
with a defined leadership structure, many of whom are incarcerated within the
Oklahoma Department of Corrections. Irish Mob members are involved in the
distribution of illegal controlled substances, the sale and trafficking of firearms, and
they are known to commit a myriad of violent crimes to include murder, kidnapping,
assault, and extortion. This criminal activity is carried out in furtherance of the Irish
Mob criminal enterprise and drug trafficking operations.

7. On July 21st, 2021 at approximately 1030 hours, HSI Task Force Officer
Marlin Warren and Task Force Officer Donald Stach conducted surveillance of 4536
S. Xenophon Ave, Tulsa. The residence is in a complex location that makes
stationary surveillance difficult. Drive-by surveillance of the residence was
conducted, and multiple vehicles were observed.

8. On July 23rd, 2021 at approximately 0600 hours (on the assigned trash day for
4536 S. Xenophon Ave), your Affiant and HSI Task Force Officer Andy Titsworth
conducted a trash pull of the residence located at 4536 S. Xenophon Ave, Tulsa,
Oklahoma. The trash was located in a City of Tulsa trash can left unattended

adjacent to the fence line located at 4536 S, Xenophon Ave. A search of the trash
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revealed a cracked glass pipe containing a crystalized ice-like substance. The contents
of the broken pipe, weighing approximately 1 gram, were field tested by your Affiant
and observed by TFO Stach. The crystal substance was field tested with an ODV
Narco-Pouch 923. The field test yielded a positive result for methamphetamine. The
pipe and its contents were placed in the Tulsa County Sheriffs Property Room.

9, Additional items located in the trash were a small baggie (commonly used to
store small quantities of controlled substances), two Q-tips (commonly used to clean
glass pipes for smoking methamphetamine), and additional pieces of the above-
mentioned broken glass pipe with presumed methamphetamine residue.

10. Your Affiant conducted a records check of the address through the city of
Tulsa utilities and found the individual responsible for the utilities at 4536 S.
Xenophon Ave is Laura Sawyer. Laura Sawyer is known to law enforcement by her
street moniker as “Hollywood” and is a known Irish Mob gang (IMG) associate.
Sawyer has multiple prior felony convictions to include possession of controlled
substances and burglary. Sawyer is a convicted felon and disqualified from owning
firearms and ammunition.

11. TFO Warren conducted surveillance of the residence in the afternoon hours of
July 26, 2021. During a short period of time, Warren observed three different vehicles
arrive at the location, the drivers exited their vehicles, entered the residence, stayed for
a short time and then left — two vehicles stayed for approximately five minutes and one
for approximately 12 minutes. The vehicles that arrived “jay parked” (parking into

on-coming traffic on opposite side of the street). Based on my training and experience,

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this short-term traffic and parking behavior is indicative of individuals arriving to
purchase narcotics based on your Affiant’s training and experience.

12. On July 29, 2021, HSI Tulsa, with the assistance of the Tulsa County
Sheriff's Office, executed a state of Oklahoma search warrant at 4536 S. Xenophon
Ave, Tulsa, Oklahoma. TCSO SWAT Team Leader reported that when SWAT
made entry, Team Leader Latiff Whitsett observed several video surveillance
cameras operating on a large screen TV and several guns were observed during
SWAT’s protective sweep of the residence. Laura SAWYER was located within the
residence and William Colby COX was taken into custody when he attempted to flee
through the back door.

13. Once TCSO SWAT secured the residence and occupants, a search of the
residence was conducted. The southwest bedroom was identified as the bedroom of
SAWYER and COX. Located in this room were six (6) firearms. One pistol (a 9mm
pistol FEG Model PA-63, SN: AJ3144) was located under the pillow, chamber
loaded. Another pistol (.25 cal pistol, RG Model 26, SN: U029476) was located
under the mattress at the foot of the bed, with a loaded magazine. In the closet, were
four more weapons: (1) 9 mm pistol, Intratec Tec-9, SN: A045004, (2) .22 cal
Revolver, Rohm, loaded with five rounds, (3) .380 cal pistol Lorcn, SN: 321453, and
(4) .22 cal pistol, Taurus, SN: 844372. These were located in a black safe accessed by
a key located in SAWYER’s purse. In total, approximately 400 rounds of
ammunition were located in this room.

14. Also located in the southwest bedroom during a search was in total: (1) 287.9

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grams including packaging of a white crystal substance, (2) 11.1 grams of a black tar
substance, and (3) 127.4 grams of pills labeled “M-30” which is suspected to be
fentanyl. The white crystal substance was field tested by TCSO Deputy Boyd using a
NarcoPouch 9230DV test kit and tested positive for the presence of
methamphetamine. The black tar substance was field tested by Deputy Boyd using a
NarcoPouch 924 test kit and tested positive for the presence of heroin. The M-30
pills tested positive using a NarcoPouch 924 test kit for the presence of opium. In my
training and experience, M-30 pills contain some quantity of fentanyl which can be
lethal even in very small doses. The controlled substances were sent to the Oklahoma
State Bureau of Investigation (OSBJ) lab for final testing.

15. Your Affiant knows by her training and experience that IMG members, and
persons who traffic narcotics commonly protect their places of distribution and stash
by the use of firearms. Oftentimes rival gangs will challenge the IMG and conduct
home invasions to rob them of their narcotics and monetary profits. It is common for
firearms to be the tools of the trade by gang members to protect their illegal
livelihood, including their drugs, and the proceeds of drug distribution.

16. HSI Agents interviewed SAWYER on scene. HSI Task Force Officer Marlin
Warren advised SAWYER of her rights. SAWYER stated she understood her rights
and wished to waive her rights to speak with Agents about the incident. Post-
Miranda, SAWYER reported that she has resided at 4536 S. Xenophon for the past
two years. SAWYER reported she pays the rent and utilities, but her boyfriend COX

helps out with utilities/rent. SAWYER gave COX a key to the residence so COX
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could come and go as he pleased and that COX has access to all areas of the

residence with no restrictions. SAWYER stated she does not possess large amounts

of methamphetamine in the house and she has a white box in her room where she

stored drugs intended for her personal use. SAWYER said there is a safe in her

bedroom that she used and possessed a key for. SAWYER stated there were two

guns in the safe and she was not sure what else was in there. SAWYER said she
possessed a .380 pistol for her protection and a Taurus 22 caliber gun that has the
firing pin removed. SAWYER stated she kept the .380 pistol in the safe. SAWYER
stated she got her guns off the street but doesn't know from whom. SAWYER knows
that COX sells dope. SAWYER has seen COX give people dope in her house but
never saw him sell it. SAWYER reported that she got her dope from COX.
SAWYER reported when COX came back to the house the other day, he had the
Tec-9 pistol. COX showed the Tec-9 to her. When asked about the M30’s (Fentany]),
SAWYER stated COX told her they were “Roxys.” SAWYER stated COX sells
them if anyone wants them and that COX has had them for a long time. SAWYER
stated COX has a black container where he kept everything, including the fentanyl
pills. SAWYER stated she has been associated with the Irish Mob for 15 years.

17. HSI Agents interviewed COX on scene. SA Garrett Hendrickson advised
COX of his rights. COX acknowledged that he understood his rights and wished to
waive his rights to speak with Agents/ officers about the incident. Post-Miranda,
COX stated that in 2009 while at Granite Prison, he got involved with the Irish Mob

because of the tension with the Universal Aryan Brotherhood (UAB). COX reported

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he has been seeing SAWYER for a couple weeks. He decided to help clean up her
house and run off all the riffraff. Once he got to know SAWYER he decided to just
stay there and they began a relationship. COX stated, regarding the guns, that
“tweakers” just show up with a lot of stuff. COX said the guns came from “smokers”
that visit there. COX stated he meets a group of Mexicans to get his dope (meth).
COX said sometimes he gets a zip or an ounce. COX contacts the Mexicans and
they tell him where to meet. A lot of the time COX sits on the “sidelines” to get dope
which means he is present but someone else does the deal. TFO Warren asked COX
about the blue M30 pills. COX admitted he took them from a little “homie.” TFO
Warren informed COX that he knows the pills are fentanyl and COX stated, “they’re
bunk” and said that’s why no one is wanting them. COX then later admitted the
M30 pills were his. COX stated he’s usually a “quarter pound guy” or ounces guy
when he purchases methamphetamine. COX stated to TFO Warren that four of the
guns in the house were his and he also told TFO Warren that SAWYER only
possessed a small amount of methamphetamine in the house, but he was responsible
for the bulk stash. COX admitted to TFO Warren that the cash in the residence was
drug money and the two stolen motorcycles located at the house were purchased
from drug sales or by money obtained illegitimately.

Conclusion

18. Based on the foregoing, I believe there is probable cause that William Colby

COX and Laura Kay SAWYER possessed with the intent to distribute 50 grams or
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more of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§
841(a)(1) and 841(b)(1)(B)(viii), drug conspiracy, in violation of 21 U.S.C. § 846 and
that they possessed firearms in furtherance of a drug trafficking crime, in violation of
18 U.S.C. § 924(c)(1)(A)(i), and respectfully request that an arrest warrant be issued

for William Colby COX and Laura Kay SAWYER.

RD recat fir ———

Rebecca Loeb, Special Agent
Homeland Security Investigations

by telephone
Subscribed and sworn to before me on the ah. day of August, 2021.

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Ss SM
UNITED STATES MAGISTRATE JUDGE
